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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title:                                                Case Number:


An appearance is hereby filed by the undersigned as attorney for:


Attorney name (type or print):

Firm:

Street address:

City/State/Zip:

Bar ID Number:                                             Telephone Number:
(See item 3 in instructions)

Email Address:

Are you acting as lead counsel in this case?                                         Yes           No

Are you acting as local counsel in this case?                                        Yes           No

Are you a member of the court’s trial bar?                                           Yes           No

If this case reaches trial, will you act as the trial attorney?                      Yes           No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this ourt an attorney must either be a member in good standing of this ourt’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 . . §1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on

Attorney signature:            S/
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
